920 F.2d 927Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dottie MICKLES, Surviving Divorced Spouse of Andy Mickles, Petitioner,v.CUMBERLAND COLLIERIES, INCORPORATED, Director, Office ofWorkers' Compensation Programs, United StatesDepartment of Labor, Respondents.
    No. 90-1106.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 3, 1990.Decided Dec. 17, 1990.
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-2845-BLA)
      Dottie Mickles, petitioner pro se.
      Ronald Eugene Gilbertson, Kilcullen, Wilson &amp; Kilcullen, Washington, D.C., Cathryn Celeste Helm, Barbara J. Johnson, United States Department of Labor, Washington, D.C., for respondents.
      Ben. Rev. Bd.
      AFFIRMED.
      Before K.K. HALL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Dottie Mickles seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.    Our review of the record and the Board's decision and order discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Mickles v. Cumberland Collieries, Inc., No. 88-2845-BLA (Ben.Rev.Bd. July 26, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    